                 IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                   Civil Action No.: 1:24-cv-00710-LCB-JLW



 UNITED STATES OF AMERICA; STATE
 OF NORTH CAROLINA; STATE OF
 CALIFORNIA; STATE OF COLORADO;
 STATE OF CONNECTICUT; STATE OF
                                                    DEFENDANT REALPAGE, INC.’S
 MINNESOTA; STATE OF OREGON;
                                                     MOTION TO DISMISS UNDER
 STATE OF TENNESSEE; and STATE OF
                                                      FEDERAL RULE OF CIVIL
 WASHINGTON,
                                                        PROCEDURE 12(b)(6)
        Plaintiffs,
                                                             ORAL ARGUMENT
        v.
                                                               REQUESTED
 REALPAGE, INC.,

        Defendant.


       Defendant RealPage, Inc. moves the Court to dismiss Plaintiffs’ Complaint with

prejudice under Federal Rule of Civil Procedure 12(b)(6) for failure to state a claim upon

which relief can be granted.

       As more fully set forth in RealPage’s accompanying Brief in Support, the grounds

for this Motion are as follows:

       1.     The Court should dismiss Plaintiffs’ claims under Sherman Act § 1 because

the Complaint fails to allege anticompetitive effects in a relevant market.

       2.     The Court should dismiss Plaintiffs’ claims under Sherman Act § 2 because

the Complaint fails to allege that RealPage has engaged in exclusionary conduct, has




    Case 1:24-cv-00710-LCB-JLW          Document 43      Filed 12/03/24       Page 1 of 2
actual or dangerously probable monopoly power in a relevant market, and specifically

intended to monopolize a relevant market.

      WHEREFORE, RealPage respectfully moves the Court to dismiss Plaintiffs’

Complaint with prejudice.

      Respectfully submitted this 3rd day of December, 2024.

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                                            -2-

    Case 1:24-cv-00710-LCB-JLW        Document 43     Filed 12/03/24   Page 2 of 2
